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                           UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

                                                  )
    LEAGUE OF WOMEN VOTERS OF                     )
    OHIO, A. PHILIP RANDOLPH                      )
    INSTITUTE OF OHIO, GEORGE W.                  )   Civil Action No.: 20-cv-3843
    MANGENI, and CAROLYN E.                       )
    CAMPBELL,                                     )
                                                  )   JUDGE Michael Watson
                    Plaintiffs,                   )
                                                  )
    v.                                            )
                                                  )
    FRANK LAROSE, in his official capacity        )
    as Secretary of State of Ohio,                )
                                                  )
                   Defendant.                     )
                                                  )


           MOTION FOR ADMISSION PRO HAC VICE OF JOSHUA B. PICKER
         Pursuant to Local Civil Rule 83.3(e) of the Rules of the United States District Court for

the Southern District of Ohio, I hereby move the admission, pro hac vice, of Joshua B. Picker, of

Covington & Burling, LLP as additional counsel for Plaintiffs in this case. A Certificate of Good

Standing from the New York Supreme Court, Appellate Division, First Judicial Department is

submitted in support of this Motion.1

         Mr. Picker understands that, unless expressly excused, he must register for electronic

filing with the Court promptly upon the granting of this Motion.

         Mr. Picker’s relevant identifying information is a follows:


Business address: 620 Eighth Avenue, New York, NY 10018-1405

1
 The New York Court of Appeals, the highest court in New York, does not issue Certificates of
Good Standing. New York attorneys obtain those certificates from the Appellate Division of the
Judicial Department in which they were admitted to the bar.
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Business telephone: (212) 841-1000
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Business email address: jpicker@cov.com



Dated: July 31, 2020                       Respectfully submitted,
                                           /s/ Freda Levenson

                                           Freda Levenson (0045916)
                                           ACLU of Ohio Foundation
                                           4506 Chester Avenue
                                           Cleveland, OH 44103
                                           Phone: 614-586-1969
                                           Fax: 614-586-1974
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                                 CERTIFICATE OF SERVICE
       I certify that the foregoing was filed this 31st day of July, 2020, through the Court’s

Electronic Filing System. Notice of this filing will be sent to all parties for whom counsel has

entered an appearance by operation of the Court’s electronic filing system. Parties may access

this filing through the Court’s system.

                                                             /s/ Freda Levenson
